                 Case 2:08-cr-00197-KJM Document 61 Filed 02/18/11 Page 1 of 2


 1   Michael E. Hansen
     Attorney at Law, SBN 191737
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.438.7721
 4   Attorney for Defendant
     JIMMIE PERRYMAN
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   MICHAEL CRAIG DENNIS, et al.,                      TRIAL ACT
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd D. Leras, Assistant United States Attorney, attorney for plaintiff;
18   Hugh Levine, attorney for defendant Michael Dennis; and Michael E. Hansen, attorney for
19   defendant Jimmie Perryman, that the previously-scheduled status conference date of February
20   18, 2011, be vacated and the matter set for status conference on March 18, 2011.
21           This continuance is requested to allow counsel additional time to review discovery with
22   the defendants, to examine possible defenses and to continue investigating the facts of the case.
23          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through March 18, 2011, should be excluded in
25   computing time within which trial must commence under the Speedy Trial Act, pursuant to
26   / / / / /
27   / / / / /
28   / / / / /


                                                    1
     Stipulation and [Proposed] Order to Continue Status Conference
                                  Case 2:08-cr-00197-KJM Document 61 Filed 02/18/11 Page 2 of 2


 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: February 16, 2011                                       Respectfully submitted,
 4
                                                                    /s/ Michael E. Hansen
 5                                                                  MICHAEL E. HANSEN
                                                                    Attorney for Defendant
 6                                                                  JIMMIE PERRYMAN
 7
     Dated: February 16, 2011                                       /s/ Michael E. Hansen for
 8                                                                  HUGH LEVINE
                                                                    Attorney for Defendant
 9                                                                  MICHAEL DENNIS
10
     Dated: February 16, 2011                                       U.S. ATTORNEY’S OFFICE
11
12                                                                  By: /s/ Michael E. Hansen for
                                                                    TODD LERAS
13                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
14
15
16                                                          ORDER
17          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
18   February 18, 2011, be vacated and the matter set for status conference on March 18, 2011.
19   Time is excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv),
20   and Local Code T4.
21          Date: 2/18/2011
22
23                                                                  _________________________
                                                                    GARLAND E. BURRELL, JR.
24                                                                  United States District Judge
25          DEAC_Signature-END:




26
27
            61khh4bb
28


                                                               2
     Stipulation and [Proposed] Order to Continue Status Conference
